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                                    ID #1607



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

PETER BRIAN FLORES,

Defendant.                                                No. 07-30136-DRH
                                      ORDER

HERNDON, Chief Judge:

             Before the Court is a Third Motion to Continue Sentencing Hearing (Doc.

450) filed by Defendant Flores. Defendant Flores asked that the sentencing hearing

be continued for forty-five (45) days based on the reasons set out in his motion. The

Government does not object to a continuance. Based on the reasons in the motion,

the Court GRANTS Defendant Flores’ third motion to continue (Doc. 450) and

CONTINUES the sentencing hearing currently scheduled for January 22, 2010 until

March 11, 2010 at 1:30 p.m.



             IT IS SO ORDERED.

             Signed this 21st day of January, 2010.



                                              /s/ DavidRHer|do|
                                             Chief Judge
                                             United States District Court
